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                       UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF TENNESSEE
                    WESTERN DIVISION


MCFADDEN COMMUNICATIONS, LLC


v.                                       No. 09-cv-2336
                                         JUDGMENT IN A CIVIL CASE

THE TRAVELERS INDEMNITY
COMPANY OF AMERICA



DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the ORDER OF
DISMISSAL WITH PREJUDICE entered on June 14, 2010, this cause is
hereby dismissed.


APPROVED:

s/Bernice B. Donald
UNITED STATES DISTRICT COURT

DATE: 06/14/2010                               THOMAS M. GOULD
                                         Clerk of Court


                                             s/Taffy Elchlepp
                                         (By) Deputy Clerk
